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                               Exhibit 60



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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OR Department of Human Services (Kathy Ketchum)                     December 15, 2008
                                            Salem, OR


                                UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS
                                                          X

           IN RE: PHARMACEUTICAL INDUSTRY                  ) MDL NO. 1456

           AVERAGE WHOLESALE PRICE                         ) Civil Action No.

           LITIGATION                                      ) 01-12257-PBS
                                                          -X

           THIS DOCUMENT RELATES TO:                       ) Hon. Patti B.

           United States of America ex rel. ) Saris
           Yen-A-Care of the Florida Keys, )
           Inc. v. Dey, Inc., et al., Civil )
           Action No. 05-II084-PBS; and                    )
           United States of America ex rel. )
           Yen-A-Care of the Florida Keys,                 )
           Inc. v. Boehringer Ingelheim                    )
           Corp., et al., Civi! Action No.                 )
           07-I0248-PBS                                    )
                                                          -X

                VIDEOTAPED DEPOSITION OF THE OREGON DEPARTMENT
                           OF HUMAN SERVICES by KATHY KETCHUM

                             PURSUANT TO FEDERAL RULE 30(B) (6)
                                  MONDAY, DECEMBER 15, 2008


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                                                                   27          Pages 102            to     105)
                                                      102                                                        104
    1    executive summaD,, the second sentence, which     1          A. It ~s.
   2     reads: "Most states use average wholesale price   2             MS. SCHNEIDER THOMAS: Objection, form.
   3     minus a percentage discount as a basis for        3             THE WITNESS: AWP minus 65.93 percent
   4     reimbursing pharmacies for drug prescriptions.    4      is lower than AWP minus 14 percent.
    5    This discount averaged about 10.31 percent        5          Q. BY MR. HEINZ: Now, Ms. Ketchum, I want
    6    nationally in 1999. We believe it is not a        6      to just drill down a little bit into why -- into
    7    significant discount to ensure that reasonable    7      that difference that we just were speaking about.
    s    prices are paid for drugs. Our review of pricing  8             Am I correct that Mr. Drawbaugh is
    9    information fi’om 217 pharmacies in eight states  9      conveying this information to CMS in connection
 1o      estimated that pharmacy acquisition costs        io      with a proposed decrease from AWP minus 13
 3. 3.   nationwide for generic drugs averaged 65.93      ii      percent to AWP minus 14 percent?
 3.2     percent below AWP."                              12          A. The title does say a request for AWP to
 13             Did I read that correctly?                13      -- AWP minus 14 percent.
 14          A. YOU did.                                  14          Q. And were you aware, in this time frame,
 3.5            MS. SCHNEIDER THOMAS’. Objection, form.15         mid 2002, that Oregon Medicaid was -- had
 16             THE WITNESS: You did read that            16      proposed a reduction to AWP minus 14 percent from
 3. 7    correctly.                                       17      AWP minus 13 percent?
 18          Q. BY MR. HEINZ: And looking at the          18          A. I am aware, yes.
 19      second page, is it fair to conclude that Mr.     19          Q. Now, given that there is quite a bit of
 20      Drawbaugh at this time had reviewed this Office  20      difference between the average acquisition cost
 21      of Inspector General’s summary that he attaches  21      of generics, that we’ve just been discussing, of
 22      to his e-mail?                                   22      AWP minus 66 percent as noted in the e-mail and

                                                      103                                                        105
   1        A. He does refer to it in his e-mail.            3.   the reimbursement of AWP minus 14 percent that
   2        Q. And it’s fair to concliade that at this      2     Oregon Medicaid was proposing, do you have any
   3     time Mr. Drawbaugh, the pharmacy program manager 3       understanding as to -- as to -- strike that -- do
   4     of Oregon Medicaid, was aware that, on average,    4     you have an understanding as to why Oregon
   5     generic drugs were purchased by pharmacies at an    5    Medicaid -- Strike that.
   6     average of AWP minus 65.93 percent?                 6           AWP minus 14 percent was for the
   7        A. It does appear that way from the e-           7    ingredient cost portion of the reimbursement
   s     mail.                                               s    formula that you and I had been discussing
   9        Q. And it’s also reasonable to conclude          9    earlier; correct?
 lo      that -- Or strike that.                           10        A. Yes.
 ~_3.            And you would agree with me that AWP      ii        Q. And with the ingredient cost portion of
 12      minus 65.93 percent is quite a bit lower than the 3.2    the reimbursement formula, Oregon Medicaid is to
 z3      AWP minus 14 percent that he is proposing to CMS  3. 3   determine its estimated acquisition cost for
 3.4     in connection with this e-mail?                   14     those drugs purchased by pharmacies; correct?
 3.5             MS. SCHNEIDER THOMAS: Objection, form.15            A. Yes.
 16              THE WITNESS: It is lower. It’s an         16        Q. And at this time, Oregon Medicaid
 17      average, though.                                  1"/    believed that its estimated acquisition cost was
 is          Q. BY MR. HEINZ: And speaking in              3.8    AWP minus 14 percent; correct?
 3. 9    averages, you would agree with me that an average 3.9           MS. SCHNEIDER THOMAS: Objection, form.
 20      acquisition cost for generic drugs of AWP minus   2o            THE WITNESS: AWP minus 14 percent is
  ~ ~-   66 percent is -- is quite a bit lower than AWP    23.    one option. There were more options in the
  ~2      minus 14 percent; correct?                       22     algorithm; so EAC, or estimated acquisition cost,


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                                                                  28       Pages 106 to 109)
                                                     106                                                     108
  1    has to be SMAC, FUL, AWP minus !4 percent, usual    1     knowledge, that goes back to at least upper ’90s.
  2    and customary, billed amount.                       2        Q. Letlnebackupjustalittlebit. Has
  3           MR. HEINZ: Okay. Let’s take a quick          3     Oregon Medicaid ever considered AWP minus a
  4    break.                                              4     certain percentage for branded drugs and then a
  5           THE WITNESS: Okay.                           5     separate AWP minus a different percentage for
  6           THE VIDEOGRAPHER: We’re offthe               6     generic drugs?
  7    record.                                             7         A. Potentially.
  8               (Recess.)                                8         Q. Do you recall when they discussed that
  9           THE VIDEOGRAPHER: We are back on the 9             option?
 1o    record.                                           3.0         A. No, and I don’t -- I don’t recall any
 11        Q. BY MR. HEINZ: Ms. Ketchum, I’d like        3.3.    like formal discussions; but, you know, it makes
 12    you to look back to the first page of Exhibit 6.  3.2     sense that it could happen.
 z3        A. What-- What page, again?                   3.3         Q. And do you recall why Oregon Medicaid -
 14        Q. The first page of Exhibit 6.               3.4     - Or strike that.
 15        A. Okay.                                      3.5            Has Oregon Medicaid adopted such an
 16        Q. Given that Mr. Drawbaugh, at the time,     3.6     approach in its reimbursement methodology for
 17    concluded that generic drugs could be purchased    t7     drugs?
 18    on average at AWP minus 66 percent, do you have   ~8          A. Not to my knowledge.
 19    an understanding as to why Oregon Medicaid only    19         Q. Do you have any understanding as to why
 2o     sought a 1 percent reduction in reimbursement to  20      Oregon Medicaid hasn’t adopted such a
 21     AWP minus 14 percent?                             2 3.    methodology?
 22            MS. SCHNEIDER THOMAS: Objection, form.22              A. I don’t know the reasons why, no.

                                                      107                                                    109

   1         THE WITNESS: Could you repeat the          1           Q. Now, it’s fair to conclude from Exhibit
   2   question again, please.                          2        6 that Oregon Medicaid knew that its -- that AWP
   3      Q. BY MR. HE1NZ: Sure. Given that Mr.         3        {ninus 14 percent was above what pharmacies were
   4   Drawbaugh in Exhibit 6 explains to CMS that      4        acquiring generic drugs for?
   5   generic drugs can be purchased at AWP minus 66   5               MS. SCHNEIDER THOMAS: Objection, form.
   6   percent, do you have an understanding as to why  6               THE WITNESS: I -- I don’t have direct
   7   Oregon Medicaid was only seeking a reduction in  7        knowledge of what pharmacies in Oregon were
   8   reimbursement from AWP minus 13 percent to AWP   a        acquiring generic drugs for, so I can’t answer
   9   minus 14 percent?                                9        that part of the question.
 lo           MS. SCHNEIDER THOMAS: Objection, form.l0               Q. BYMR. HE1NZ: Well, I’d like you to
 ll           THE WITNESS: The AWP minus 65.93         ll        turn to page 2, and here Mr, Drawbaugh refers to
 12    percent refers only to generics and does not    12        this Office of Inspector General report from
 13    address the rest of the drag mix.               13        2002, which concludes that 65.93 percent below
 14       Q. BY MR. HEINZ: To your knowledge, has      14        AWP is the average cost to a pharmacy for generic
 15    Oregon Medicaid ever considered a separate      15        drugs. Correct?
 16    reimbursement for generic drugs as opposed to   16               MS. SCHNEIDER THOMAS: Objection, form.
 17    brand name drugs?                               17               THE WITNESS: This sentence establishes
 18       A. Yes.                                      ls        that it’s from 217 pharmacies in eight states.
 19       Q. When did Oregon Medicaid consider that    19            Q. BY MR. HEINZ: But it’s fair to
 20    separate reimbursement?                         20        conclude -- Strike that.
 21       A. Well, it’s -- it’s been part of federal   21                Are you familiar with the Department of
  22    regulations. The federal upper limit, to my    22        Health and Human Services Office of Inspector


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                                                                  33     (Pages 126 to 129)
                                                    126                                                   128
  1     Exhibit 7, reads: "The state legislature reviewed   1   minus 15 percent?
   2    this information in making their decision to ask    2      A. I don’t recall anything specifically,
   3    for AWP minus 15 percent on Februaq 1 lth, 2002. 3      UO.
  4     Governor Kitzhaber had this information to review 4        Q. Do you recall anything generally?
   5    in making this decision. It was Governor            5      A. 1 have a vague recollection that he was
   6    Kitzhaber’s decision to change the request to AWP   6   being lobbied by pharmacy interests.
   7    minus 14 percent, to decrease the impact on         7      Q. All right. Looking back to Exhibit 7,
   a    pharmacies." Did I read that correctly?             S   Ms. Ketchum, is it fair to conclude that Oregon
   9        A. You did read that correctly.                 9   Medicaid was in possession of information in 2002
10          Q. And are you aware of the change from        lO   that branded drugs and generic drugs were
11      the original proposal of AWP minus 15 percent to 11     acquired, on average, at less than AWP minus 14
12      AWP minus 14 percent at the governor’s behest?     12   percent or AWP minus 13 percent, its current
13          A. I don’t personally recall that.             13   reimbursement rates?
14          Q. And does this document refresh your         14      A. That was a long question. Could you
15      recollection of that at all?                       15   restate it, please.
i~           A.. It does not refresh my recollection. I    16      Q. Is it fair to conclude that, as a
3_7     don’t recall it. It does state -- It states what   17   result of Exhibit 7, looking at Exhibit 7, that
 L8     it states.                                         18   in 2002 Oregon Medicaid was aware that the
 L9          Q. And is -- do you have any recollection    19    average acquisition prices for generic drugs and
 ,) 0    as to what Mr. Drawbaugh meant when he wrote it 2 o    branded drugs was less than its current
 21     was Governor Kitzhaber’s decision to change the    21   reimbursement rate of AWP minus 13 percent?
 22      request to AWP minus 14 percent to decrease the   22          MS. SCHNEIDER THOMAS: Objection, form.

                                                     127                                                   129
   1    impact on pharmacies?                              1           THE WITNESS: I believe that Oregon
  2            MS. SCHNEIDER THOMAS: I’m sorry.            2    Medicaid had several sources of information that
   3    Could you read that question back, please.         3    suggested that acquisition costs were lower than
  4            THE WITNESS: Could you read the             4    their reimbursement rate.
   5    question back, please.                             5        Q. BY MR. HEINZ: And, nonetheless, Oregon
   6              (Record read.)                           6    Medicaid didn’t seek a reduction in reimbursement
   7           THE WITNESS: I don’t have any               7    to match those loWer acquisition cost averages,
   8    recollection of what Mr. Drawbaugh thought.        s    did it?
   9        Q. BY MR. HE1NZ: Reading this document         9            MS. SCHNEIDER THOMAS: Objection, form.
 10     today, do you have an understanding as to what    lo            MR. DAVIS: Objection.
 11     Mr. Drawbaugh -- Strike that.                     11           THE WITNESS: Oregon Medicaid -- The
 3_2           Do you have an understanding as to Mr.     12    reimbursement rate of AWP minus 14 is only one
 13     -- or Governor Kitzhaber’s concerns about the     13    method of reimbursement. It’s -- It is the
 14     impact on pharmacies of a cut to AWP minus 15     14    default highest, so it’s the lower of AWP minus
 15     percent?                                          15     14, FUL, SMAC, usual and customao,, or billed.
 16            MS. SCHNEIDER THOMAS: Objection, form.16             Q. BY MR. HE1NZ: Going back to my
 17            THE WITNESS: I can’t testify as to         17    question, though: Just looking at AWP minus 13
 18     what Governor Kitzhaber was thinking or what his  18    percent or AWP minus 14 percent, Oregon Medicaid
 19     concerns were.                                    19    -- Strike that.
 20         Q. BY MR. HE1NZ: Are you aware of any         20            Just looking at the current
 21     concerns by Governor Kitzhaber about an impact on 21    reimbursement rate at this time of AWP minus 13
  22    pharmacies from a cut in reimbursement to AWP     22    percent, why didn’t, to your knowledge, Oregon


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                                                                 34 (Pages 130 to 133)
                                                    130                                                    132
 1      Medicaid meet the -- what it knew to be the        1    approved that reduction in reimbursement to AWP
 2      acquisition prices on average for branded and      2    minus 14 percent despite having the information
 :3     generic drugs?                                     3    that Mr. Drawbaugh conveyed in Exhibit 6 and
 4         A. Because it’s only--                          4    Exhibit 7 that branded drugs were acquired at, on
  5            MS. SCHNEIDER THOMAS: Objection, form. 5         average, AWP minus 22 percent and generic drugs
  6           THE WITNESS: It is only one method of        6    were acquired, on average, at AWP minus 66
  7     reimbursement to pharmacies. There are five        7    percent?
  8     others that I’ve listed previously.                 8       A. CMS approved tile proposal.
  9        Q. BY MR. HEINZ: So did Oregon Medicaid          9       Q. But CMS approved that proposal, am I
10      expect there to be no reimbursements based on AWP 10    correct, in light of knowing that generic drugs
11      minus 13 percent?                                 11    were acquired, on average, at AWP minus 66
12         A. There was percentages based upon AWP 12           percent, as Mr. Drawbaugh conveyed to them in
1.3     and percentages based -- paid on FUL and SMAC.13        Exhibits 6 and 7?
14         Q. Do you recall at this time what percent     14           MR. DAVIS: Objection, form.
15      of pharmacy claims were paid based on the AWP     15           MS. SCHNEIDER THOMAS: Object to form.
16      minus 13 percent?                                 16           THE WITNESS: They approved the
17         A. I don’t recall.                             17    proposal with the documents that were sent with
18         Q, Do you have a ballpark understanding?       18    them.
19         A. I can’t guess at this point, no.            19        Q. BYMR. HEINZ: And l’d like you to look
20         Q.    Would   you  say it’s more than 10       2 0   at the rest of the first paragraph there, where
21      percent?                                          21    Mr. Drawbaugh summarizes the documents that were
 22        A. I can’t guess.                              22    submitted along with that change fi’om AWP minus

                                                    131                                                    133
  1            MR. HEINZ: All right. I’d like to          1     13 percent to AWP minus 14 percent. Correct?
  2     mark as Exhibit 8 a document bearing the Bates    2        A, Can you restate that again.
  3     numbers HHC020-0345 through 46.                   3         Q. Sure. And in paragraph 1, Mr.
  4               (Exhibit Roxane-OR 008 marked.)         4     Drawbaugh summarizes the documents that he
  5         Q. BY MR. HEINZ: Have youseen Exhibit 8 5           submitted in support of the change from AWP minus
  6     before, Ms. Ketchum?                              6     13 percent to AWP minus 14 percent?
  7         A. I believe so. I believe it was part of     7         A. The second sentence lists the documents
  8     the subpoenaed documents.                         8     that were submitted with the -- with the
   9        Q. And this appears to be another              9    proposal.
 3- 0   communication from Mr. Drawbaugh to Ms. Garza at l0         Q. And in the second paragraph, it reads:
 3-1    CMS; correct?                                    11     "Due to the shortfall in the September 2002
 12         A. It does appear that way.                  12     forecast, OMAP proposed a reduction of reimburse"
 13         Q. And you’ll see that it notes in the       1:3    -- "of prescription reimbursement ingredient
 3-4    first paragraph that, on July 22nd, 2002, CMS    14     costs from AWP minus 86 percent to AWP minus 13
 15     approved the reduction in pharmacy reimbursement 15     percent"?
 ?_6    from 87 percent to 86 percent; correct?          16             MS. SCHNEIDER THOMAS: Objection, form.
 17         A. The sentence says, yes, that Oregon       17             MR. DAVIS: Objection.
 3-8    received approval from the Centers for Medicare18           Q. BY MR. HE1NZ: Or, I’m sor<¢ -- AWP 86
 3-9    and Medicaid Service to reduce the pharmacy 1.9         percent to AWP minus 83 percent; correct? I’ll
 20     reimbursement maximum from 87 percent to 86 20          just strike that again.
 23_    percent.                                         21             The second paragraph explains that, due
 22         Q. And you’ll agree with me that CMS.        22     to a budget shortfall, OMAP proposed a further


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